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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

USA,
                     Plaintiff,                                  4:12CR3041
       vs.
                                                      MEMORANDUM AND ORDER
CLEOPHUS A. COLLIER, DARRIUS D.
MASON, LARRY J. MASON,
                     Defendants.


       Defendant Larry Mason has moved to continue the pretrial motion deadline, (filing
no. 44), because his counsel needs additional time to fully review the discovery received
before deciding if pretrial motions should be filed. Based on the showing set forth in the
motion, the court finds the motion should be granted.


       IT IS ORDERED:


       1)     Defendant Larry Mason’s motion to continue, (filing no. 44), is granted.


       2)     As to all defendants, pretrial motions and briefs shall be filed on or before
June 11, 2012.


       3)     Trial of this case remains set to commence on June 26, 2012.


       4)     The ends of justice served by granting the motion to continue outweigh the
interests of the public and the defendants in a speedy trial, and the additional time arising
as a result of the granting of the motion, the time between today and June 11, 2012, shall
be deemed excludable time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, the novelty and
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complexity of the case, and the fact that the failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


Dated this 22nd day of May, 2012.

                                                  BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge




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